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9

10                          IN THE UNITED STATES DISTRICT COURT
11                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                   SAN FRANCISCO DIVISION
12

13
     UNITED STATES OF AMERICA,             CR 20-130 WHO
14
                        PLAINTIFF,
15                                         DEFENDANT’S SENTENCING MEMORANDUM
                     V.
16
                                           HONORABLE WILLIAM H. ORRICK
17   JUAN FUENTES,                         DATE: JUNE 11, 2020
                           DEFENDANT.      TIME: 9:00 A.M.
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28   CR 20-130 WHO
     Defendant’s Sentencing Memorandum
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1                                              INTRODUCTION

2            Juan Fuentes comes before the Court for change of plea and sentencing. Mr. Fuentes

3    intends to plead guilty to a single violation of 21 U.S.C. § 841 for selling $40.00 worth of cocaine

4    to an undercover officer in the Tenderloin. Mr. Fuentes is 28 years old and has no prior criminal

5    convictions. He joins the government in requesting a sentence of three months in custody, which

6    is time served. Such a sentence would be sufficient to achieve the goals of sentencing with respect

7    to Mr. Fuentes.

8

9                                                DISCUSSION

10           Juan Fuentes’ history and the nature of this offense warrant a sentence of time served,
11   which represents a slight variance from the advisory Guideline recommendation. Because he has
12   no criminal history, Mr. Fuentes is category I. Because this offense involved a small amount of
13   cocaine, his offense level is 10. This results in an advisory guidelines recommendation of between
14   6-12 months.1 U.S.S.G. § 2D1.1.
15           Consideration of the factors enumerated in 18 U.S.C. § 3553(a), however, compel the
16   conclusion that a variance is warranted here. Mr. Fuentes has no prior criminal convictions and
17   will almost certainly be deported to Honduras upon his release from custody. Mr. Fuentes sold
18   an undercover officer two rocks of cocaine base for $40.00. Despite the fact that he had no
19   criminal record, and despite the scale of his crime, Mr. Fuentes was charged with—and pled
20   guilty to—a felony in federal court. He was not afforded the opportunity to participate in a
21   diversion program or any of the other rehabilitative options that would be available in state court
22   for a first-time, low-level offender. The three months he has spent in custody already constitute
23   his longest (and only) jail sentence.
24                                              CONCLUSION
25
     1
       Mr. Fuentes’ Guideline recommendation falls into Zone B of the sentencing table so the
26   Guidelines allow for home confinement in lieu of a term of imprisonment, as long as one month
27   is served in custody. U.S.S.G. § 5C1.1(c).

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1           For the foregoing reasons, Mr. Fuentes joins the government in requesting a sentence of
2    time served, followed by three years of supervised release.
3    Dated: June 5, 2020
4                                                             Respectfully submitted,

5                                                             STEVEN G. KALAR
6                                                             Federal Public Defender
                                                                 /S/
7                                                             ELLEN V. LEONIDA
8                                                             Assistant Federal Public Defender

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     Defendant’s Sentencing Memorandum
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